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                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
 United States of America                                              CASE NUMBER:
                                                                                        8:19-cr-00061-JVS
                                                        Plaintiff(s)
                                 v.

 Michael John Avenatti                                                  ORDER ON REQUEST FOR APPROVAL OF
                                                                         SUBSTITUTION OR WITHDRAWAL OF
                                                      Defendant(s).
                                                                                    ATTORNEY


        The Court hereby orders that the request of:

        Michael John Avenatti                      Plaintiff X Defendant              Other _____
                Name of Party

to substitute                         H. Dean Steward                                                               who is

        X Retained Counsel                    Counsel appointed by the Court (Criminal cases only)                 Pro Se

                                      107 Avenida Miramar, Suite C
                                                                Street Address


            San Clemente, CA 92672                                                       deansteward7777@gmail.com
                           City, State, Zip                                                               E-Mail Address


(949) 481-4900                                        (949) 496-6753                                      85317
        Telephone Number                                        Fax Number                                State Bar Number


as attorney of record instead of               John L. Littrell and Steven J. Katzman of Bienert | Katzman PC
                                                 List all attorneys from same firm or agency who are withdrawing



is hereby       X GRANTED                     DENIED

The clerk is hereby ordered to terminate Notices of Electronic Filing for the withdrawing attorney(s) in this
case.


        Dated 5/17/2019
                                                                         U. S. District Judge James V Selna


G-01 ORDER (09/17)(PROPOSED) ORDER ON REQUEST FOR APPROVAL OF SUBSTITUTION OR WITHDRAWAL OF ATTORNEY
